                                                                                                                                                 3/26/25 8:38AM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF MICHIGAN

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Pendy's Restaurant Group, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  20930 Mack Avenue
                                  Grosse Pointe, MI 48236
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Wayne                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://thependys.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Pendy's Restaurant Group, LLC                                                               Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                2511

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:

                                                                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number




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Debtor    Pendy's Restaurant Group, LLC                                                                   Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   Pendy's Restaurant Group, LLC                                               Case number (if known)
         Name

                               $50,001 - $100,000                        $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    Pendy's Restaurant Group, LLC                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 26, 2025
                                                  MM / DD / YYYY


                             X /s/ Susan M. Pendy                                                         Susan M. Pendy
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Lynn M. Brimer                                                          Date March 26, 2025
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Lynn M. Brimer P43291
                                 Printed name

                                 Strobl PLLC
                                 Firm name

                                 33 Bloomfield Hills Parkway
                                 Suite 125
                                 Bloomfield Hills, MI 48304
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (248) 540-2300                Email address


                                 P43291 MI
                                 Bar number and State




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                      20930 Mack Avenue, Inc.
                      1164 Havard Road
                      Grosse Pointe, MI 48230


                      Able Plumbing
                      24410 John R
                      Hazel Park, MI 48030-1114


                      AF Water Heater
                      35170 Beattie Dr.
                      Sterling Heights, MI 48312


                      City of Grosse Pointe Woods
                      20025 Mack Ave.
                      Grosse Pointe, MI 48236


                      Comcast Business
                      P.O. Box 4089
                      Carol Stream, IL 60197-4089


                      Comerica Bank
                      P.O. Box 790408
                      Saint Louis, MO 63179-0408


                      Constellation Gas
                      PO Box 5473
                      Carol Stream, IL 60197-5473


                      Couvreur Family Limited Partnership
                      P.O. Box 36425
                      Grosse Pointe, MI 48236


                      DTE Energy
                      One Energy Plaza
                      Detroit, MI 48226-1221


                      Ecolab, Inc.
                      P.O. Box 70343
                      Chicago, IL 60673


                      EH Boyle, PC
                      14950 E. Jefferson
                      Ste. 200
                      Grosse Pointe, MI 48230


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                  Estate of Walter Hage, Deceased
                  c/o B.J. Decker
                  2104 Hampton
                  Grosse Pointe, MI 48236


                  Fairway Packing
                  18300 15 Mile Road
                  48026
                  Finchville, KY 40022-6000


                  Finvest
                  77 Spruice Street Suite 301
                  Cedarhurst, NY 11516

                  Fox Funding Group, LLC
                  803 S. 21st Ave.
                  Hollywood, FL 33020


                  Gordon's
                  7770 Kensington Ct.
                  Brighton, MI 48116


                  Itria Ventures, LLC
                  One Oenn Plaza, Ste. 3130
                  New York, NY 10119


                  Jaris Lending, LLC
                  1409 Chapin Ave.
                  Burlingame, CA 94010


                  Joseph S. Jacobs
                  Ershowsky Verstandig PLLC
                  290 Central Ave., Ste. 109
                  Lawrence, NY 11559


                  MCA Resolve LLC
                  220 Congress Park Dr., Ste. 215
                  Delray Beach, FL 33445


                  Michigan Department of Treasury
                  Collection Division
                  P.O. Box 30199
                  Lansing, MI 48909-7699




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                  Michigan Foods
                  16901 Harper
                  Detroit, MI 48224


                  Nicole Hamborsky
                  Upstairs neighbor
                  Grosse Pointe, MI 48230


                  SpotOn Inc.
                  100 California Street, 9th floor
                  San Francisco, CA 94111


                  State of Michigan
                  Department of Treasury
                  Dept. 77003
                  Detroit, MI 48277-0003


                  Susan M.Pendy
                  1975 Shorepointe Lane
                  Grosse Pointe, MI 48236


                  US Foods
                  98612 Collections Center Drive
                  Chicago, IL 60693-8612




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